     Case 2:05-cr-00192-WFN    ECF No. 268    filed 09/28/07   PageID.1486 Page 1 of 1




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                               UNITED STATES DISTRICT COURT
 6                            EASTERN DISTRICT OF WASHINGTON
 7
       UNITED STATES OF AMERICA,                 )
 8                                               )    No. CR-05-192-WFN-7
                        Plaintiff,               )
 9                                               )    ORDER DENYING DEFENDANT'S
       v.                                        )    MOTION FOR RECONSIDERATION
10                                               )
       GARY L. CLARK, JR.,                       )
11                                               )
                        Defendant.               )
12                                               )

13           At the September 27, 2007, hearing on Defendant's Motion for

14    Reconsideration of Detention Order, counsel Michael Roff appeared

15    with    Defendant;      Assistant      U.S.    Attorney      Thomas   J.   Hopkins

16    represented the United States.

17           The court, having considered the proffers of Defendant and

18    Plaintiff, finds Defendant has not had a recent chemical dependency

19    assessment and has a significant criminal history. Accordingly, the

20    Defendant’s Motion (Ct. Rec. 262) must be and is DENIED.

21           IT IS SO ORDERED.

22           DATED September 28, 2007.

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24                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
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      ORDER DENYING DEFENDANT'S MOTION FOR RECONSIDERATION - 1
